                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 23-3228                                                September Term, 2023
                                                                     1:23-cr-00257-TSC-1
                                                       Filed On: August 2, 2024
United States of America,

              Appellee

       v.

Donald J. Trump,

              Appellant


       BEFORE:       Henderson, Childs, and Pan, Circuit Judges

                                        ORDER

       In light of the Supreme Court’s judgment filed August 2, 2024, vacating this
court’s February 6, 2024 judgment and remanding for further proceedings consistent
with the Court’s opinion in Trump v. United States, 144 S. Ct. 2312 (July 1, 2024), it is

       ORDERED, on the court’s own motion, that this case be remanded to the District
Court for further proceedings consistent with the Supreme Court’s opinion.

       The Clerk is directed to issue the mandate forthwith to the district court.

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk
